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				IN RE AMENDMENT TO RULES GOVERNING ADMISSION TO PRACTICE OF LAW2016 OK 54Decided: 05/09/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 54, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



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ORDER 


The following amendment to Rule 9, Rules Governing Admission to the Practice of Law in the State of Oklahoma, Okla. Stat. tit. 5, ch. 1, app. 5, which provides for a temporary permit to practice law for certain persons employed by a qualified legal services provider is hereby adopted and is attached as an exhibit to this Order.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 9th day of May, 2016.


/S/CHIEF JUSTICE 



Reif, C.J., Combs, V.C.J., Watt, Edmondson, Taylor, Colbert and Gurich, JJ., concur;

Kauger and Winchester, JJ., not voting.



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Rules Governing Admission to the Practice of Law in the State of Oklahoma
Okla. Stat. tit. 5
ch. 1, app. 5
Rule 9. Temporary Permits.

A. Temporary permits to practice law until the conclusion of the next succeeding bar examination and report of the results thereof may be granted upon the recommendation of the Board of Bar Examiners after a showing of public convenience and necessity, which shall include but not be limited to a showing by a qualified legal services provider as defined in subsection B of this rule, and or in the private sector where a case of extreme hardship is shown, provided the applicant has taken and passed the Multistate Professional Responsibility Examination. All applicants for temporary permit to practice law shall file with the Board of Bar Examiners an application for such temporary permit in addition to regular application for admission to the bar examination. The Board shall, as soon as practicable, report its recommendation on such application for temporary permit to the Supreme Court, together with a copy of such application.

B. A "qualified legal services provider" means a not for profit legal services organization whose primary purpose is to provide legal services to low income clients or a legal department within a not for profit organization that employs at least one (1) lawyer full-time to provide legal services to low income clients.





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	Title 5. Attorneys and the State Bar
&nbsp;CiteNameLevel

&nbsp;5 O.S. Rule 9, Temporary PermitsCited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
